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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  ANGELA BERNHARDINE GALLO, al.,               §
                                               §
         Plaintiffs,                           §
                                               §
                                               §
  v.                                           §              CASE NO. 1:23-cv-23266
                                               §
  CARNIVAL CORPORATION                         §
                                               §
         Defendant.                            §



                          CERTIFICATE OF INTERESTED PARTIES
         Pursuant to the Court’s order of August 29, 2023, Doc. 102, plaintiffs state that the

  following persons have an interest in the outcome of this case:

  Angela Bernhardine Gallo, Individually and as Personal Representative of the Estate of Basilio
  Gallo, Deceased, and Lisa Antonietta Lieselolotte Gallo, Individually
  Plaintiffs

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                                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of this document was electronically filed with the Clerk
  of the Court using CM/ECF. I further certify that the foregoing document is being served this day
  on all counsel of record, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.


  September 7, 2023.

                                                      /s/ Rebecca Vinocur
                                                      Rebecca Vinocur



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